             Case 5:12-cv-00236-cr Document 1 Filed 10/11/12 Page 1 of 5

                                                                                     U.S. DIS HdCT COU~,.:.
                                                                                    DISTRICT Of Vf.RHUt~l
                                                                                            f!LED

                             IN THE UNITED STATES DISTRICT COURT                     2612 OCT., l PH tt: 43
                                 FOR THE DISTRICT OF VERMONT


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )           Case No.    5~   f"l·C\[' 23te
                     v.                            )
                                                   )
THE STATE OF VERMONT; and                          )
JAMES C. CONDOS,                                   )
SECRETARY OF STATE                                 )
OF VERMONT, in his official capacity,              )
                                                   )
                          Defendants.              )
__________________________ )                       )


                                           COMPLAINT

  The United States of America alleges:

        1.       This action is initiated by the Attorney General on behalf of the United States

pursuant to the Uniformed and Overseas Citizens Absentee Voting Act ("UOCAVA") of 1986,42

U.S.C. §§ 1973ffto 1973ff-7, as amended by the Military and Overseas Voter Empowerment Act

("MOVE Act") of2009, Pub. L. No. 111-84, Subtitle H, §§ 575-589, 123 Stat. 2190,2318-35

(2009). UOCAVArequires that absent uniformed services voters and overseas voters be

permitted "to use absentee registration procedures and to vote by absentee ballot in general,

special, primary, and runoff elections for Federal office." 42 U.S.C. § 1973ff-1(a)(1).

       2.       The Attorney General is authorized to enforce the provisions ofUOCAVA, 42

U.S.C. § 1973ff-4, and brings this action for declaratory and injunctive relief to ensure that

absent uniformed services voters and overseas voters ("UOCAVA voters") will have the

opportunity to vote guaranteed by UOCAVA in Vermont's November 6, 2012 Federal general

election and in future elections for Federal office.


                                                  1
             Case 5:12-cv-00236-cr Document 1 Filed 10/11/12 Page 2 of 5




        3.      This Court has jurisdiction pursuant to 42 U.S.C. § 1973ff-4 and 28 U.S.C.

§§ 1345 and 2201.

        4.      Defendant State of Vermont is responsible for complying with UOCAVA and

ensuring that validly-requested absentee ballots are transmitted to UOCAVA voters in accordance

with its terms. 42 U.S.C. § 1973ff-l.

        5.      Defendant James C. Condos is sued in his official capacity as the Secretary of

State of the State of Vermont. The Secretary of State is Vermont's chief elections officer. 17

V.SA. § 2103(40). The principal office ofthe Secretary of State's Elections Division is in

Montpelier, Vermont.

        6.      On August 28, 2012, Vermont held a primary election. Vermont's primary

election is among the latest in the country, and allows for little time for the resolution of post-

election disputes, such as recounts, before the UOCAVA ballot transmission deadline 45 days

before the general election.

        7.      Subsequent to Vermont's August 28, 2012 primary election, a dispute arose

concerning the results of the gubernatorial primary election for the Progressive Party, and the

Vermont Superior Court in Washington County ordered a recount. On September 18, 2012, the

Superior Court announced the results of the recount and declared a winner of the gubernatorial

primary election for the Progressive Party.

                November 6, 2012 Federal General Election

       8.       UOCAVArequires that states transmit all validly-requested ballots to UOCAVA

voters not later than 45 days before an election for Federal office when the request is received at

least 45 days before the election. See 42 U.S.C. § 1973ff-1(a)(8).




                                                  2
              Case 5:12-cv-00236-cr Document 1 Filed 10/11/12 Page 3 of 5




        9.       City and township clerks in Vermont received timely requests for absentee ballots

from eligible UOCAVA voters on or before September 22,2012, the 45th day prior to the Federal

general election.

        10.      The State did not finalize the ballot for the November 2012 Federal general

election until late in the day on September 20, 2012. The cities and townships did not receive an

electronic copy of the ballot to be sent to UOCAVA voters until late in the day on September 20,

2012.

        11.      Based on information and belief, the Director of Elections for the Vermont Office

of the Secretary of State is aware that numerous town clerk offices were closed on Friday,

September 21, 2012, and Saturday, September 22, 2012.

        12.      In response to the United States' request for a report on whether Vermont had

complied with the 45-day transmittal deadline for the 2012 Federal general election, on

September 25, September 28, October 1, and October 2, 2012, the State provided the United

States with reports concerning UOCAVA ballot transmissions by its city and township clerks.

Each report lists, by city and town, each UOCAVA ballot by name of the voter, date the ballot

was requested, date the ballot was sent, and method of delivery of the ballot.

        13.      According to Vermont's reports, 148 of its cities and townships received a total of

894 ballot requests from UOCAVA voters prior to September 22, 2012. Of those 894 ballots, at

least 191 (21.4%) were transmitted after that deadline.

        14.      The reports also indicate that of those 148 jurisdictions, 67 (45.3%) transmitted at

least one of those ballots after the September 22 transmittal deadline.

        15.      The State's reports reveal that of 191 ballots transmitted after the deadline, 78

(41.1%) were transmitted on September 24; 33 were transmitted on September 25; 23 were



                                                   3
          Case 5:12-cv-00236-cr Document 1 Filed 10/11/12 Page 4 of 5




transmitted on September 26; 20 were transmitted on September 27; 28 were transmitted on

September 28, 20 12; one ballot was transmitted on September 29; seven ballots were transmitted

on October 1; and one ballot was transmitted on October 2.

        16.       Under Vermont's election law, absentee ballots, including those from UOCAVA

voters, must be received by city or township clerks by the close of polls on election day in order

to be counted. 17 V.S.A. § 2543.

        17.       Vermont's failure to transmit absentee ballots to UOCAVA voters who requested

them by September 22, 2012, the 45th day prior to the 2012 Federal general election, constitutes

a violation of Section 102(a)(8)(A) ofUOCAVA. 42 U.S.C. § 1973ff-1(a)(8)(A).

       18.       An order ofthis Court is necessary requiring Vermont to take corrective action to

protect the rights granted by UOCAVA and to ensure that the State's UOCAVA voters have

sufficient opportunity to vote in the 2012 Federal general election and future Federal elections.

WHEREFORE, the United States asks this Court to hear this action pursuant to 42 U.S.C.

§ 1973ff-4 and 28 U.S.C. §§ 1345 and 2201, and:

   (1) Issue a declaratory judgment under 28 U.S.C. § 2201 that Vermont violated Section

       102(a)(8)(A) ofUOCAVA, 42 U.S.C. § 1973ff-1(a)(8)(A), by failing to ensure that

       absentee ballots were transmitted to UOCAVA voters by September 22, 2012, for the

       November 6, 2012 Federal general election;

   (2) Issue injunctive relief ordering the Defendants, their agents and successors in office, and

       all persons acting in concert with them:

       (a) To take such steps as are necessary to provide that UOCAVA voters will have the time

              period mandated by UOCAVA for receiving, marking, and returning their ballot and




                                                  4
           Case 5:12-cv-00236-cr Document 1 Filed 10/11/12 Page 5 of 5




            ensure that the ballot will be counted in the November 6, 2012 Federal general

            election;

        (b) To take such steps as are necessary to provide UOCAVA voters who are eligible to

            participate in the State's November 6, 2012 Federal general election with notice of

           this Court's order;

        (c) To report to the United States and the Court concerning the transmission, receipt, and

           counting ofUOCAVA ballots, by city and township, and related procedures, for the

           November 6, 2012 Federal general election pursuant to this Court's order;

       (d) To take such other steps as are necessary to assure that the State conducts all future

           Federal elections in full compliance with UOCAVA, including requiring the State to

           provide pre- and post-election reports to the United States concerning its UOCAVA

           compliance in future Federal elections.

The United States further asks this Court to order such other relief as the interests of justice may

require, together with the costs and disbursements of this action.

Dated this j{ day of October, 2012

THOMAS E. PEREZ                                               TRISTRAM J. COFFIN
Assistant Attorney General                                    United States Attorney
Civil Rights Division


                                                      By:

                                                              Assistant U.S. Attorney
                                                              Chief, Civil Division
Attorneys, Voting Section                                     P.O. Box 570
Civil Rights Division                                         Burlington, Vermont 05402
U.S. Department of Justice                                    (802) 951-6540
950 Pennsylvania Avenue, N.W.
N.W.B. 7202
Washington, D.C. 20530
Telephone: (202) 305-7766
Facsimile: (202) 307-3961
                                                  5
